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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 GIOVANNI REID,

                         Plaintiff,
                                                               CIVIL ACTION
        v.                                                     NO. 18-1645

 THE PHILADELPHIA DISTRICT
 ATTORNEY’S OFFICE, et al.,

                         Defendants.




                                            ORDER

       AND NOW, this 7th day of May 2025, upon consideration of Petitioner Giovanni Reid’s

pro se Petition for a Writ of Habeas Corpus filed pursuant to 28 U.S.C. § 2254 (Doc. Nos. 2, 20),

the Government’s Response in Opposition (Doc. No. 29), Petitioner’s Reply (Doc. No. 35), the

Report and Recommendation of United States Magistrate Judge Lynne A. Sitarski (Doc. No. 36),

Petitioner’s Objections to the Report and Recommendation (Doc. No. 39), the relevant state court

record, and in accordance with the Opinion of the Court issued this day, it is ORDERED that:


       1.     The Report and Recommendation (Doc. No. 36) is APPROVED and ADOPTED.


       2.     Petition for a Writ of Habeas Corpus (Doc. Nos. 2, 20) is DENIED.


       3.     A Certificate of Appealability SHALL NOT issue because Petitioner has failed to

              “demonstrate that reasonable jurists would find the district court’s assessment of

              the constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473,

              484 (2000); 28 U.S.C. § 2253(c)(2).

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4.   The Clerk of Court shall mark this case closed.




                                          BY THE COURT:



                                          /s/ Joel H. Slomsky___
                                          JOEL H. SLOMSKY, J.




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